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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


    ANNEX BOOKS, INC., et al.,                 )
                                               )
                   Plaintiffs,                 )
                                               ) 1:03-cv-918-SEB-TAB
                   vs.                         )
                                               )
    CITY OF INDIANAPOLIS,                      )
                                               )
                   Defendant.                  )




 AMENDED ORDER NUNC PRO TUNC ENTERING PERMANENT INJUNCTION

           On October 8, 2014, the stay of the Seventh Circuit Court of Appeals’s

    mandate was lifted with instructions “to enter an injunction against enforcement of

    the closure ordinance.” In accordance with the mandate, Defendant, the City of

    Indianapolis, and its officers, agents, servants, employees, attorneys, and all

    persons in active concert or participation with it who receive actual notice of this

    order by personal service or otherwise, are hereby PERMANENTLY ENJOINED

    from enforcing Chapter 807 of the City-County Code against Plaintiffs, their

    officers, agents, and employees in any manner inconsistent with the holding on

    appeal. Defendant is ordered to undertake forthwith the necessary steps to

    communicate this restraint to all the necessary and appropriate officials and

    departments.
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    Each party shall, pursuant to Local Rule 16-2, “file a statement of position as to

    what action the court should take in the case” relating to issues of damages and

    attorney fees, to the extent such issues remain and cannot be resolved by the

    parties’ voluntary efforts. These statements shall be filed on or before October 29,

    2014.



             11/12/2014
    Date: _______________________                   _______________________________
                                                      SARAH EVANS BARKER, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana




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